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 4
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 5   CAMERON HARRELL
 6
 7                             UNITED STATES DISTRICT COURT
 8                            CENTRAL DISTRICT OF CALIFORNIA
 9
     CAMERON HARRELL,                             Case No.:
10
                 Plaintiff,                       COMPLAINT FOR INJUNCTIVE
11                                                RELIEF AND DAMAGES FOR DENIAL
           vs.                                    OF CIVIL RIGHTS OF A DISABLED
12                                                PERSON IN VIOLATIONS OF
13                                                1. AMERICANS WITH DISABILITIES
                                                  ACT, 42 U.S.C. §12131 et seq.;
14   PERFORMANCE AUTO CENTER;
     HILDA ORTEGA MENDOZA, AS                     2. CALIFORNIA’S UNRUH CIVIL
15                                                RIGHTS ACT;
     TRUSTEE OF THE ESQUIVEL FAMILY
16   TRUST; and DOES 1 to 10,                     3. CALIFORNIA’S DISABLED
                                                  PERSONS ACT;
17               Defendants.
                                                  4. CALIFORNIA HEALTH & SAFETY
18                                                CODE;
19                                                5. NEGLIGENCE
20
21
22
23
           Plaintiff CAMERON HARRELL (“Plaintiff”) complains of Defendants
24
     PERFORMANCE AUTO CENTER; HILDA ORTEGA MENDOZA, AS TRUSTEE OF
25
     THE ESQUIVEL FAMILY TRUST; and DOES 1 to 10 (“Defendants”) and alleges as
26
     follows:
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                                         COMPLAINT - 1
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 1                                              PARTIES
 2            1.   Plaintiff is a California resident with a physical disability. Plaintiff is
 3   diagnosed with complete paraplegia and is substantially limited in his ability to walk.
 4   Plaintiff requires the use of a wheelchair at all times when traveling in public.
 5            2.   Defendants are, or were at the time of the incident, the real property owners,
 6   business operators, lessors and/or lessees of the real property for a car stereo shop
 7   (“Business”) located at or about 760 W. Foothill Blvd., Rialto, California.
 8            3.   The true names and capacities, whether individual, corporate, associate or
 9   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
10   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
11   Court to amend this Complaint when the true names and capacities have been
12   ascertained. Plaintiff is informed and believes, and, based thereon, alleges that each such
13   fictitiously named Defendants are responsible in some manner, and therefore, liable to
14   Plaintiff for the acts herein alleged.
15            4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
16   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
17   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
18   the things alleged herein was acting with the knowledge and consent of the other
19   Defendants and within the course and scope of such agency or employment relationship.
20            5.   Whenever and wherever reference is made in this Complaint to any act or
21   failure to act by a defendant or Defendants, such allegations and references shall also be
22   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
23   and severally.
24                                 JURISDICTION AND VENUE
25            6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
26   1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
27   seq.).
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 1         7.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 2   arising from the same nucleus of operating facts, are also brought under California law,
 3   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 4   54, 54., 54.3 and 55.
 5         8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 6         9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 7   property which is the subject of this action is located in this district, San Bernardino
 8   County, California, and that all actions complained of herein take place in this district.
 9                                     FACTUAL ALLEGATIONS
10         10.    In or about March of 2025, Plaintiff went to the Business.
11         11.    The Business is a car stereo shop business establishment, open to the public,
12   and is a place of public accommodation that affects commerce through its operation.
13   Defendants provide parking spaces for customers.
14         12.    While attempting to enter the Business during each visit, Plaintiff personally
15   encountered a number of barriers that interfered with his ability to use and enjoy the
16   goods, services, privileges, and accommodations offered at the Business.
17         13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
18   included, but were not limited to, the following:
19                a.     Defendants failed to comply with the federal and state standards for
20                       the parking space designated for persons with disabilities. Defendants
21                       failed to provide the parking space identification sign with the
22                       International Symbol of Accessibility.
23                b.     Defendants failed to comply with the federal and state standards for
24                       the parking space designated for persons with disabilities. Defendants
25                       failed to post required signage such as “Van Accessible,” “Minimum
26                       Fine $250” and “Unauthorized Parking.”
27                c.     Defendants failed to comply with the federal and state standards for
28                       the parking space designated for persons with disabilities. Defendants



                                            COMPLAINT - 3
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 1                       failed to provide proper van accessible space designated for the
 2                       persons with disabilities as there were no “NO PARKING” markings
 3                       painted on the surface of the access aisle. Additionally, Defendants
 4                       failed to provide an access aisle with the minimum required width
 5                       measurement.
 6                d.     Defendants failed to comply with the federal and state standards for
 7                       the parking space designated for persons with disabilities. Defendants
 8                       failed to mark the space with the International Symbol of
 9                       Accessibility.
10                e.     Defendants failed to maintain the parking space designated for
11                       persons with disabilities to comply with the federal and state
12                       standards. Defendants failed to maintain the blue borderlines and blue
13                       hatched lines painted on the ground as required, resulting in the
14                       markings becoming severely deteriorated, hindering visibility.
15         14.    These barriers and conditions denied Plaintiff full and equal access to the
16   Business and caused Plaintiff difficulty and frustration. Plaintiff wishes to return and
17   patronize the Business; however, Plaintiff is deterred from visiting the Business because
18   his knowledge of these violations prevents him from returning until the barriers are
19   removed.
20         15.    Based on the violations, Plaintiff alleges, on information and belief, that
21   there are additional barriers to accessibility at the Business after further site inspection.
22   Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
23   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
24         16.    In addition, Plaintiff alleges, on information and belief, that Defendants
25   knew that particular barriers render the Business inaccessible, violate state and federal
26   law, and interfere with access for the physically disabled.
27         17.    At all relevant times, Defendants had and still have control and dominion
28   over the conditions at this location and had and still have the financial resources to



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 1   remove these barriers without much difficulty or expenses to make the Business
 2   accessible to the physically disabled in compliance with ADDAG and Title 24
 3   regulations. Defendants have not removed such barriers and have not modified the
 4   Business to conform to accessibility regulations.
 5                                    FIRST CAUSE OF ACTION
 6          VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
 7         18.    Plaintiff incorporates by reference each of the allegations in all prior
 8   paragraphs in this complaint.
 9         19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
10   shall be discriminated against on the basis of disability in the full and equal enjoyment of
11   the goods, services, facilities, privileges, advantages, or accommodations of any place of
12   public accommodation by any person who owns, leases, or leases to, or operates a place
13   of public accommodation. See 42 U.S.C. § 12182(a).
14         20.    Discrimination, inter alia, includes:
15                a.    A failure to make reasonable modification in policies, practices, or
16                      procedures, when such modifications are necessary to afford such
17                      goods, services, facilities, privileges, advantages, or accommodations
18                      to individuals with disabilities, unless the entity can demonstrate that
19                      making such modifications would fundamentally alter the nature of
20                      such goods, services, facilities, privileges, advantages, or
21                      accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
22                b.    A failure to take such steps as may be necessary to ensure that no
23                      individual with a disability is excluded, denied services, segregated or
24                      otherwise treated differently than other individuals because of the
25                      absence of auxiliary aids and services, unless the entity can
26                      demonstrate that taking such steps would fundamentally alter the
27                      nature of the good, service, facility, privilege, advantage, or
28




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 1                       accommodation being offered or would result in an undue burden. 42
 2                       U.S.C. § 12182(b)(2)(A)(iii).
 3                c.     A failure to remove architectural barriers, and communication barriers
 4                       that are structural in nature, in existing facilities, and transportation
 5                       barriers in existing vehicles and rail passenger cars used by an
 6                       establishment for transporting individuals (not including barriers that
 7                       can only be removed through the retrofitting of vehicles or rail
 8                       passenger cars by the installation of a hydraulic or other lift), where
 9                       such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
10                d.     A failure to make alterations in such a manner that, to the maximum
11                       extent feasible, the altered portions of the facility are readily
12                       accessible to and usable by individuals with disabilities, including
13                       individuals who use wheelchairs or to ensure that, to the maximum
14                       extent feasible, the path of travel to the altered area and the
15                       bathrooms, telephones, and drinking fountains serving the altered
16                       area, are readily accessible to and usable by individuals with
17                       disabilities where such alterations to the path or travel or the
18                       bathrooms, telephones, and drinking fountains serving the altered area
19                       are not disproportionate to the overall alterations in terms of cost and
20                       scope. 42 U.S.C. § 12183(a)(2).
21         21.    Where parking spaces are provided, accessible parking spaces shall be
22   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
23   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
24   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
25   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
26   be a van accessible parking space. 2010 ADA Standards § 208.2.4.
27         22.    Under the ADA, the method and color of marking are to be addressed by
28   State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California



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 1   Building Code (“CBC”), the parking space identification signs shall include the
 2   International Symbol of Accessibility. Parking identification signs shall be reflectorized
 3   with a minimum area of 70 square inches. Additional language or an additional sign
 4   below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
 5   parking space identification sign shall be permanently posted immediately adjacent and
 6   visible from each parking space, shall be located with its centerline a maximum of 12
 7   inches from the centerline of the parking space and may be posted on a wall at the
 8   interior end of the parking space. See CBC § 11B-502.6, et seq.
 9         23.    Moreover, an additional sign shall be posted either in a conspicuous place at
10   each entrance to an off-street parking facility or immediately adjacent to on-site
11   accessible parking and visible from each parking space. The additional sign shall not be
12   less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
13   letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
14   designated accessible spaces not displaying distinguishing placards or special license
15   plates issued for persons with disabilities will be towed away at the owner’s expense…”
16   See CBC § 11B-502.8, et seq.
17         24.    Here, Defendants failed to provide the parking space identification sign with
18   the International Symbol of Accessibility. In addition, Defendants failed to provide the
19   signs stating, “Minimum Fine $250” and “Van Accessible.” Moreover, Defendants failed
20   to provide the additional sign with the specific language stating “Unauthorized vehicles
21   parked in designated accessible spaces not displaying distinguishing placards or special
22   license plates issued for persons with disabilities will be towed away at the owner’s
23   expense…”
24         25.    For the parking spaces, access aisles shall be marked with a blue painted
25   borderline around their perimeter. The area within the blue borderlines shall be marked
26   with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
27   with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
28   be painted on the surface within each access aisle in white letters a minimum of 12 inches



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 1   (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
 2   11B-502.3.3.
 3         26.      Here, Defendants failed to provide a proper access aisle as there were no
 4   “NO PARKING” markings painted on the parking surface. Additionally, Defendants
 5   failed to maintain the blue borderlines and blue hatched lines painted on the marking
 6   surface, resulting in the markings becoming severely deteriorated, hindering visibility.
 7   Moreover, Defendants failed to provide the access aisle with the minimum width of 96
 8   inches.
 9         27.      The surface of each accessible car and van space shall have surface
10   identification complying with either of the following options: The outline of a profile
11   view of a wheelchair with occupant in white on a blue background a minimum 36” wide
12   by 36” high (914 mm x 914 mm). The centerline of the profile view shall be a maximum
13   of 6 inches (152 mm) from the centerline of the parking space, its sides parallel to the
14   length of the parking space and its lower side or corner aligned with the end of the
15   parking space length or by outlining or painting the parking space in blue and outlining
16   on the ground in white or a suitable contrasting color a profile view of a wheel chair with
17   occupant. See CBC § 11B-502.6.4, et seq.
18         28.      Here, Defendants failed to paint the International Symbol of Accessibility on
19   the surface as required.
20         29.      A public accommodation shall maintain in operable working condition those
21   features of facilities and equipment that are required to be readily accessible to and usable
22   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
23         30.      By failing to maintain the facility to be readily accessible and usable by
24   Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
25   regulations.
26         31.      The Business has denied and continues to deny full and equal access to
27   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
28   discriminated against due to the lack of accessible facilities, and therefore, seeks



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 1   injunctive relief to alter facilities to make such facilities readily accessible to and usable
 2   by individuals with disabilities.
 3                                 SECOND CAUSE OF ACTION
 4                   VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
 5         32.    Plaintiff incorporates by reference each of the allegations in all prior
 6   paragraphs in this complaint.
 7         33.    California Civil Code § 51 states, “All persons within the jurisdiction of this
 8   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
 9   national origin, disability, medical condition, genetic information, marital status, sexual
10   orientation, citizenship, primary language, or immigration status are entitled to the full
11   and equal accommodations, advantages, facilities, privileges, or services in all business
12   establishments of every kind whatsoever.”
13         34.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
14   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
15   for each and every offense for the actual damages, and any amount that may be
16   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
17   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
18   attorney’s fees that may be determined by the court in addition thereto, suffered by any
19   person denied the rights provided in Section 51, 51.5, or 51.6.
20         35.    California Civil Code § 51(f) specifies, “a violation of the right of any
21   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
22   shall also constitute a violation of this section.”
23         36.    The actions and omissions of Defendants alleged herein constitute a denial
24   of full and equal accommodation, advantages, facilities, privileges, or services by
25   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
26   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
27   51 and 52.
28




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 1         37.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
 2   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
 3   damages as specified in California Civil Code §55.56(a)-(c).
 4                                 THIRD CAUSE OF ACTION
 5               VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
 6         38.    Plaintiff incorporates by reference each of the allegations in all prior
 7   paragraphs in this complaint.
 8         39.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
 9   entitled to full and equal access, as other members of the general public, to
10   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
11   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
12   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
13   of transportation (whether private, public, franchised, licensed, contracted, or otherwise
14   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
15   places of public accommodations, amusement, or resort, and other places in which the
16   general public is invited, subject only to the conditions and limitations established by
17   law, or state or federal regulation, and applicable alike to all persons.
18         40.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
19   corporation who denies or interferes with admittance to or enjoyment of public facilities
20   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
21   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
22   the actual damages, and any amount as may be determined by a jury, or a court sitting
23   without a jury, up to a maximum of three times the amount of actual damages but in no
24   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
25   determined by the court in addition thereto, suffered by any person denied the rights
26   provided in Section 54, 54.1, and 54.2.
27         41.    California Civil Code § 54(d) specifies, “a violation of the right of an
28   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also



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 1   constitute a violation of this section, and nothing in this section shall be construed to limit
 2   the access of any person in violation of that act.
 3         42.    The actions and omissions of Defendants alleged herein constitute a denial
 4   of full and equal accommodation, advantages, and facilities by physically disabled
 5   persons within the meaning of California Civil Code § 54. Defendants have
 6   discriminated against Plaintiff in violation of California Civil Code § 54.
 7         43.    The violations of the California Disabled Persons Act caused Plaintiff to
 8   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
 9   statutory damages as specified in California Civil Code §55.56(a)-(c).
10                                  FOURTH CAUSE OF ACTION
11                CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
12         44.    Plaintiff incorporates by reference each of the allegations in all prior
13   paragraphs in this complaint.
14         45.    Plaintiff and other similar physically disabled persons who require the use of
15   a wheelchair are unable to use public facilities on a “full and equal” basis unless each
16   such facility is in compliance with the provisions of California Health & Safety Code §
17   19955 et seq. Plaintiff is a member of the public whose rights are protected by the
18   provisions of California Health & Safety Code § 19955 et seq.
19         46.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
20   that public accommodations or facilities constructed in this state with private funds
21   adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
22   Title 1 of the Government Code. The code relating to such public accommodations also
23   require that “when sanitary facilities are made available for the public, clients, or
24   employees in these stations, centers, or buildings, they shall be made available for
25   persons with disabilities.
26         47.    Title II of the ADA holds as a “general rule” that no individual shall be
27   discriminated against on the basis of disability in the full and equal enjoyment of goods
28   (or use), services, facilities, privileges, and accommodations offered by any person who



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 1   owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
 2   Further, each and every violation of the ADA also constitutes a separate and distinct
 3   violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
 4   award of damages and injunctive relief pursuant to California law, including but not
 5   limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
 6                                   FIFTH CAUSE OF ACTION
 7                                         NEGLIGENCE
 8          48.    Plaintiff incorporates by reference each of the allegations in all prior
 9   paragraphs in this complaint.
10          49.    Defendants have a general duty and a duty under the ADA, Unruh Civil
11   Rights Act and California Disabled Persons Act to provide safe and accessible facilities
12   to the Plaintiff.
13          50.    Defendants breached their duty of care by violating the provisions of ADA,
14   Unruh Civil Rights Act and California Disabled Persons Act.
15          51.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
16   has suffered damages.
17                                     PRAYER FOR RELIEF
18          WHEREFORE, Plaintiff respectfully prays for relief and judgment against
19   Defendants as follows:
20          1.     For preliminary and permanent injunction directing Defendants to comply
21   with the Americans with Disability Act and the Unruh Civil Rights Act;
22          2.     Award of all appropriate damages, including but not limited to statutory
23   damages, general damages and treble damages in amounts, according to proof;
24          3.     Award of all reasonable restitution for Defendants’ unfair competition
25   practices;
26          4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
27   action;
28          5.     Prejudgment interest pursuant to California Civil Code § 3291; and



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 1         6.     Such other and further relief as the Court deems just and proper.
 2                              DEMAND FOR TRIAL BY JURY
 3         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
 4   demands a trial by jury on all issues so triable.
 5
 6   Dated: June 2, 2025                     SO. CAL. EQUAL ACCESS GROUP
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 8
 9                                           By:    _/s/ Jason J. Kim___________
                                                    Jason J. Kim, Esq.
10                                                  Attorneys for Plaintiff
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